                       EXHIBIT C
                       (Redacted)




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                                  UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF TENNESSEE
-----------------------------------------------------------------------X
JOHNNY M. HUNT,                                                        :
                                                                       :
                                    Plaintiff,                         :
                                                                       :
                  -against-                                            : Case No. 3:23-cv-00243
                                                                       :
SOUTHERN BAPTIST CONVENTION,                                           :
GUIDEPOST SOLUTIONS LLC, and                                           :
EXECUTIVE COMMITTEE OF THE SOUTHERN                                    :
BAPTIST CONVENTION,                                                    :
                                                                       :
                                    Defendants.                        :
-----------------------------------------------------------------------X

PLAINTIFF’S OBJECTIONS AND RESPONSES TO GUIDEPOST SOLUTIONS LLC’S
        SECOND REQUEST FOR THE PRODUCTION OF DOCUMENTS

       Plaintiff, by counsel, hereby provides his objections and responses to Defendant Guidepost

Solutions LLC’s Second Request for Production.

             OBJECTIONS AND RESPONSES TO DOCUMENT REQUESTS

       1.      Copies of all state-issued identification documents currently or previously held
by Plaintiff during the Relevant Time Period, including without limitation, Plaintiff’s
driver’s license.

       RESPONSE: Plaintiff objects to Request No. 1 as seeking information that is not

relevant to any issue in this case to the extent it seeks information for the time period prior to

March 17, 2023, the date he filed his complaint. Subject to and without waiving this objection,

Plaintiff has produced his current Florida driver’s license and his prior Georgia driver’s license.

See Hunt_0001995 and Hunt_0001983.

      2.     Copies of all vehicle registrations currently or previously held by Plaintiff
during the Relevant Time Period.

       RESPONSE: Plaintiff objects to Request No. 2 as seeking information that is not relevant

to any issue in this case to the extent it seeks information for the time period prior to March 17,




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2023, the date he filed his complaint. Subject to and without waiving this objection, Plaintiff has

produced his current Florida (Hunt_0001992), prior Georgia (2019-2020, Hunt_0001993), and

current Georgia (Hunt_0001982) vehicle registrations.

      3.     Documents sufficient to show purchases, sales, or other conveyances of real
property by Plaintiff during the Relevant Time Period.

       RESPONSE: Plaintiff objects to Request No. 3 as seeking information that is not relevant

to any issue in this case to the extent it seeks information for the time period prior to March 17,

2023, the date he filed his complaint. Subject to and without waiving this objection, Plaintiff has

produced Settlement Statements relating to the sale of                                      , Panama

City Beach, FL           (Hunt_0001977-79) and purchase of                                           ,

Walton County, FL           (Hunt_0001997-98).

       4.      Documents sufficient to show Plaintiff’s travel during the Relevant Time
Period.

       RESPONSE: Objection. Plaintiff objects to Request No. 4 as seeking information that is

not relevant to any issue in this case to the extent it seeks information for the time period prior to

March 17, 2023, the date he filed his complaint. Plaintiff also objects to Request No. 4 as seeking

information that is not relevant to any issue in this case to the extent it seeks information broadly

related to all of Plaintiff’s travel—where Plaintiff travelled from 2020 to 2023 has nothing to do

with his domicile at the time he filed his complaint. Plaintiff also objects to Request No. 4 as

vague, ambiguous, and overly broad to the extent it requests undefined “documents” relating to

his “travel.” Accordingly, this request does not identify requested documents with the “reasonable

particularity” required by Rule 34. Plaintiff will not be producing documents in response to this

request.




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        5.    Documents sufficient to show all homeowners, vehicle, or other insurance
policies owned by Plaintiff during the Relevant Time Period.

        RESPONSE: Plaintiff objects to Request No. 5 as seeking information that is not relevant

to any issue in this case to the extent it seeks information for the time period prior to March 17,

2023, the date he filed his complaint. Plaintiff also objects to Request No. 5 as vague, ambiguous

and overly broad to the extent it seeks documents related to undefined “other insurance policies.”

Any such “other insurance policies” would not be relevant to Plaintiff’s domicile as of March 17,

2023. Subject to and without waiving these objections, see documents produced at Hunt_0001984-

1985,   Hunt_0001999,      Hunt_0001976,     Hunt_0001977,       Hunt_0001978,     Hunt_0001996,

Hunt_0002000.

       6.     Documents reflecting Plaintiff’s membership in churches, clubs, or other
associations during the Relevant Time Period.

        RESPONSE: Plaintiff objects to Request No. 6 as seeking information that is not relevant

to any issue in this case to the extent it seeks information for the time period prior to March 17,

2023, the date he filed his complaint. Plaintiff also objects to Request No. 6 as vague and

ambiguous with respect to the undefined term “other associations.” Subject to and without waiving

these objections, see documents produced at Hunt_0001994, Hunt_0001995.

       7.     Documents reflecting Plaintiff’s voter registration during the Relevant Time
Period, including without limitation, Plaintiff’s voter registration card. In responding to this
Request, Plaintiff may redact any indication of his party affiliation.

        RESPONSE: Plaintiff objects to Request No. 7 as seeking information that is not relevant

to any issue in this case to the extent it seeks information for the time period prior to March 17,

2023, the date he filed his complaint. Subject to and without waiving this objection, see Florida

voter registration from February 2023 at Hunt_0002004 and Hunt_0001980.




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      8.    Documents sufficient to show all state taxes paid by Plaintiff during the
Relevant Time Period.

       RESPONSE: Plaintiff objects to Request No. 8 as seeking information that is not relevant

to any issue in this case to the extent it seeks information for the time period prior to March 17,

2023, the date he filed his complaint. Subject to and without waiving this objection, Plaintiff will

produce his tax returns.

       9.    All credit card statements of credit cards issued to Plaintiff, including
merchant location information, showing Plaintiff’s expenditures during the Relevant Time
Period.

       RESPONSE: Objection. Plaintiff objects to Request No. 9 as seeking information that is

not relevant to any issue in this case to the extent it seeks information for the time period prior to

March 17, 2023, the date he filed his complaint. Plaintiff also objects to Request No. 9 as overly

broad and as seeking information wholly unrelated to any issue in this case because it seeks “all

credit card statements” of any credit card use by Plaintiff since 2020. Plaintiff will not be producing

documents in response to this request.




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Dated: December 20, 2023



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                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing has been served on December 20, 2023, on

the following counsel via email only:


                                                   /s/ Patrick J. Sanders
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